          Case 1:15-mc-01394-ABJ Document 188 Filed 05/06/22 Page 1 of 15




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




    IN RE: U.S. OFFICE OF PERSONNEL
    MANAGEMENT DATA SECURITY
    BREACH LITIGATION
    ______________________________________           Misc. Action No. 15-1394 (ABJ)
                                                     MDL Docket No. 2664
    This Document Relates To:
    ALL CASES


PLAINTIFFS’ MOTION FOR AN ORDER GRANTING PRELIMINARY APPROVAL OF
        CLASS ACTION SETTLEMENT AND PROVIDING FOR NOTICE

         Pursuant to Federal Rule of Civil Procedure 23(e), and for the reasons set forth in the

accompanying Memorandum in Support of Plaintiffs’ Motion for an Order Granting Preliminary

Approval of Class Action Settlement and Providing for Notice, Class Representatives1 Travis

Arnold, Tony Bachtell, Gardell Branch, Myrna Brown, Lilian Colon-McKnight, Paul Daly, Jon

Decker (formerly John Doe III), Jane Doe, Jane Doe II, John Doe II, Kelly Flynn, Alia Fuli, Johnny

Gonzalez, Orin Griffith, Jennifer Gum, Michael Hanagan, Deborah Hoffman, Cynthia King-

Meyers, Todd Kupferer (formerly John Doe), Ryan Lozar, Teresa J. McGarry, Charlene Oliver,

Mario Sampedro, Zachary Sharper, Robert Slater, Nancy Wheatley, and Kimberly Winsor, by and

through their undersigned counsel, respectfully move the Court to enter the following relief, in

substantially the form set forth in the [Proposed] Order Preliminarily Approving Class Action

Settlement and Providing for Notice:



1
 Unless otherwise noted, all capitalized terms have the meaning ascribed to them in the Settlement
Agreement.
                                                1
        Case 1:15-mc-01394-ABJ Document 188 Filed 05/06/22 Page 2 of 15




              a.      Preliminarily find that the Court is likely to certify the Class, for settlement

purposes only, pursuant to Rule 23(b)(3), Fed. R. Civ. P.;

              b.      Appoint Class Counsel and the Class Representatives, as defined in Section

II.B.3 and II.B.4 of the Settlement Agreement, respectively, to represent the Class;

              c.      Grant preliminary approval of the Settlement Agreement and its

attachments and authorize issuance of the Notice attached to the Settlement Agreement as Exhibit

1;

              d.      Approve Class Counsel’s and U.S. Office of Personnel Management’s

selection of Epiq Class Action & Claims Solutions, Inc. (“EPIQ”) to serve as Claims

Administrator, and direct the Parties to retain EPIQ to perform the duties of the Claims

Administrator set forth in and within the cost limitations set out in the Settlement Agreement;

              e.      Approve the Parties’ plan for dissemination of notice, attached to the

Settlement Agreement as Exhibit 5, pursuant to Rule 23(e)(1), Fed. R. Civ. P.;

              f.      Set a date by which Plaintiffs must file their motion for attorneys’ fees,

reimbursement of litigation costs and expenses, and incentive awards (“Fees Motion”) for the

Named Plaintiffs under Rule 23(h), Fed. R. Civ. P., which date shall allow sufficient time in

advance of the hearing on Plaintiffs’ to-be-filed Motion for Final Approval of Class Action

Settlement (“Fairness Hearing”) for Class Members to object to or comment on the Fees Motion;

              g.      Set a date and procedure by which objections from Class Members must be

filed in accordance with the Settlement Agreement;

              h.      Set a date for the Fairness Hearing that is no sooner than 110 days after

Preliminary Approval, at which time the Court will determine whether the Settlement Agreement

should be finally approved under Rule 23(e), Fed. R. Civ. P.;



                                                 2
        Case 1:15-mc-01394-ABJ Document 188 Filed 05/06/22 Page 3 of 15




              i.      Authorize the Defendants to fund the Settlement Account, as provided in

Sections III.A-B of the Settlement Agreement, and order that the expenditure of such funds for

purposes of the Settlement Agreement is a proper and consistent use of the funds, and that

Defendants will not be liable in any other context or proceeding for these funds in the event that

the Settlement Agreement becomes void or voidable.

       Pursuant to Local Civil Rule 7(f), Plaintiffs respectfully request an oral hearing on this

motion. Pursuant to Local Civil Rule 7(m), Plaintiffs’ counsel discussed this motion with

Defendants’ counsel, and Defendants consent to the relief requested herein.


 DATED: May 6, 2022                                 Respectfully submitted,

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                                                    By: /s/ Daniel C. Girard

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                                                3
Case 1:15-mc-01394-ABJ Document 188 Filed 05/06/22 Page 4 of 15




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                                   Additional Plaintiffs’ Counsel




                               4
        Case 1:15-mc-01394-ABJ Document 188 Filed 05/06/22 Page 5 of 15




DISTRICT OF DISTRICT OF COLUMBIA LOCAL RULE 7(K) LIST OF PERSONS TO
            BE NOTIFIED OF MOTION AND [PROPOSED] ORDER

       Pursuant to D.D.C. LCvR 7(k), the following persons are entitled to be notified of entry of

the foregoing Motion and accompanying [Proposed] Order:


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       Case 1:15-mc-01394-ABJ Document 188 Filed 05/06/22 Page 6 of 15




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                                      6
       Case 1:15-mc-01394-ABJ Document 188 Filed 05/06/22 Page 7 of 15




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                                      7
       Case 1:15-mc-01394-ABJ Document 188 Filed 05/06/22 Page 8 of 15




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                                      8
       Case 1:15-mc-01394-ABJ Document 188 Filed 05/06/22 Page 9 of 15




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                                      9
      Case 1:15-mc-01394-ABJ Document 188 Filed 05/06/22 Page 10 of 15




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                                      10
      Case 1:15-mc-01394-ABJ Document 188 Filed 05/06/22 Page 11 of 15




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                                     11
       Case 1:15-mc-01394-ABJ Document 188 Filed 05/06/22 Page 12 of 15




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                                          12
      Case 1:15-mc-01394-ABJ Document 188 Filed 05/06/22 Page 13 of 15




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                                           13
      Case 1:15-mc-01394-ABJ Document 188 Filed 05/06/22 Page 14 of 15




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                                      14
        Case 1:15-mc-01394-ABJ Document 188 Filed 05/06/22 Page 15 of 15




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 6th day of May, 2022, I caused the foregoing Motion

for an Order Granting Preliminary Approval of Class Action Settlement and Providing for Notice,

and related documents, to be filed and served via the Court’s CM/ECF filing system. I will also

cause copies of the foregoing, including the [Proposed] Order granting the motion, to be sent via

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                                               15
